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FOR THE WESTERN DIsTRICT 0F TENNBSSEE _. 4
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lN THE UNITED sTATEs DISTRICT COURT 05 ApR 22
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U`NI'I`ED STATES OF AMERICA
vs. Criminal No. l :98-10030‘02-'{`

SEBASTIAN LOCKETT
JUDGMENT ON SUPERVISED RELEASE VIOLATION

This cause came to be heard on April 21, 2005, Assistant U. S. Attorney, Richard
Leigh Grinalds, representing the government, and the defendant appeared in person and with
counsel, Danny R. Ellis, who Was appointed and denies to the allegations set forth in the
Supervised Release Violation Petition. After questioning the defendant, hearing statements of
counsel, the Court finds the defendant guilty as charged in the Supervised Release Violation
Petition.

IT IS THEREFORE ORDERED that the defendant has violated the terms of his
supervised release and that he be sentenced to the custody of the Bureau of Prisons for a period
of Tweoty-four (24) Montlls with no further supervision

The defendant is remanded to the custody of the United States Marshal.

IT IS SO ORDERED.

A.QQM

JAM D. 'ror)l)
UNI D TAT sDIs_TRIcT JUD<§_};
DATE: 6

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with Rule 55 and/or 32{b) FFlCrP on

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This notice confirms a copy of the document docketed as number 84 in
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Danny R. Ellis

MUELLER & ELLIS, PLC
1289 N. Highland Ave.
P.O. Box 3512

Jackson7 TN 38303--351

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable .1 ames Todd
US DISTRICT COURT

